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                                                        April 10, 2017


 VIA ECF
 Honorable Margo K. Brodie
 United States District Court Judge
 United States District Court, E.D.N.Y.
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:     Liberty Mutual Fire Ins. Co., et al. v. Elite Medical Supply of New York, LLC,
         Docket No.: 1:16-cv-01766 (MKB) (CLP)


 Dear Judge Brodie:

          We represent Plaintiffs in the above-referenced matter, and jointly with counsel for Elite
 Medical Supply of New York, LLC, write to advise the Court of the status of the settlement
 negotiations. Presently, the parties have exchanged a draft agreement and are working to finalize
 the terms. In the Court’s order dated February 21, 2017, the Court set a new briefing schedule for
 Plaintiffs’ motion letter to request permission to amend the complaint and Plaintiff’s opposition to
 Defendant’s Motion to Dismiss or, in the alternative Compel Arbitration (the “Motion”), filed on
 June 17, 2016 (ECF No. 21). In addition, the Court also terminated the Motion (ECF No. 21) from
 the calendar and advised the parties that either side can seek to restore the motion if a settlement
 is not reached.

         In view of the foregoing, if acceptable to the Court, the parties respectfully request that the
 deadline to file any letter requesting permission to amend the Complaint also be removed the
 calendar without prejudice. In the unlikely event the parties reach an impasse and it becomes
 necessary to proceed with the motions, the parties will promptly advise the Court of their inability
 to complete the settlement, together with joint request to file a letter to amend the Complaint and
 to restore the Motion (ECF No. 21) to the calendar, with a proposed briefing schedule.

         In the interim, the parties will continue attempts to finalize the agreement, which the parties
 anticipate will be completed shortly.

         We thank you for your consideration in this regard.
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 MORRISON MAHONEY LLP

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                                          By: _/s/ James A. McKenney_____.
                                             James A. McKenney (JM-6164)

 cc:     All counsel (via ECF)

 Encl.
